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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                            SAN JOSE DIVISION
                                  11

                                  12     FEDERAL TRADE COMMISSION,                         Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                          ORDER GRANTING IN PART AND
                                                                                           DENYING IN PART PARTIES’
                                  14             v.                                        REVISED MOTIONS TO SEAL
                                                                                           PRETRIAL PROPOSED FINDINGS OF
                                  15     QUALCOMM INCORPORATED,                            FACT AND CONCLUSIONS OF LAW
                                  16                   Defendant.                          Re: Dkt. Nos. 1469, 1470
                                  17

                                  18          Plaintiff Federal Trade Commission (“FTC”) has filed a revised administrative motion to

                                  19   file under seal the FTC’s pretrial proposed findings of fact and conclusions of law. ECF No.

                                  20   1469. Defendant Qualcomm Incorporated (“Qualcomm”) has filed a revised administrative

                                  21   motion to file under seal Qualcomm’s pretrial proposed findings of fact and conclusions of law.

                                  22   ECF No. 1470.

                                  23          The Court notes that Qualcomm has publicly disclosed much of its royalty rate

                                  24   information. See, e.g., ECF No. 1169 at 1 (“Qualcomm has historically sought royalty rates of 5%

                                  25   of the net selling price of complete devices that implement 2G and/or 3G standards (whether or

                                  26   not the handsets also implement 4G LTE standards), subject to certain royalty caps.”). In

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                                  28   Case No. 17-CV-00220-LHK
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                                   1   Qualcomm’s Statement Regarding Public Licensing Information, ECF No. 1169, Qualcomm

                                   2   stated that the general terms of Qualcomm’s Chinese Patent License Agreements are “widely

                                   3   known.” Id. at 2. Specifically, Qualcomm charges royalties of 5% for multimode 3G/4G devices

                                   4   and 3.5% for 3-mode LTE-TDD devices that do not implement CDMA or WCDMA. Id. Both

                                   5   Qualcomm’s licensing attorney Fabian Gonell and Qualcomm’s expert Professor Aviv Nevo

                                   6   testified extensively about Qualcomm’s royalty rates publicly. See, e.g., Tr. 1400:17-1401:4; Tr.

                                   7   1875:23-1876:6.

                                   8          Applying the compelling reasons standard, the Court rules on the parties’ motions to seal

                                   9   as follows.

                                  10
                                          Motion to      Requesting Party or        Portions of                    Ruling
                                  11       Seal                Parties               Paragraph
                                  12    ECF No. 1469     Qualcomm                  ¶ 108            DENIED.
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                                  13    ECF No. 1469     Qualcomm                  ¶ 109            GRANTED.
                                        ECF No. 1469     Qualcomm                  ¶ 128            DENIED.
                                  14
                                        ECF No. 1469     MediaTek                  ¶ 140            GRANTED.
                                  15    ECF No. 1469     Qualcomm                  ¶ 309            DENIED.
                                        ECF No. 1469     Qualcomm                  ¶ 311            DENIED.
                                  16
                                        ECF No. 1470     Samsung, Qualcomm         ¶ 40             DENIED.
                                  17    ECF No. 1470     Qualcomm                  ¶ 85             GRANTED.
                                        ECF No. 1470     Qualcomm                  ¶ 90             DENIED.
                                  18
                                        ECF No. 1470     Qualcomm                  ¶ 92             DENIED.
                                  19    ECF No. 1470     Qualcomm                  ¶ 94             DENIED.
                                        ECF No. 1470     Lenovo, Qualcomm          ¶ 97             GRANTED.
                                  20    ECF No. 1470     Lenovo, Qualcomm          ¶ 100            DENIED. Qualcomm’s standard
                                                                                                    CPLA rates were revealed in the
                                  21
                                                                                                    public testimony of Fabian Gonell.
                                  22                                                                Tr. 1400:17-1401:4.
                                        ECF No. 1470     Lenovo, Qualcomm          ¶ 103            DENIED.
                                  23    ECF No. 1470     BlackBerry,               ¶ 110            GRANTED as to the upfront fee
                                                         Qualcomm                                   amount in the 2000 BlackBerry
                                  24                                                                SULA, but DENIED as to the royalty
                                  25                                                                rate.
                                        ECF No. 1470     Qualcomm                  ¶ 111            DENIED.
                                  26    ECF No. 1470     BlackBerry,               ¶ 115            GRANTED.
                                                         Qualcomm
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                                  28   Case No. 17-CV-00220-LHK
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                                          Motion to    Requesting Party or    Portions of                 Ruling
                                   1       Seal              Parties           Paragraph
                                   2   ECF No. 1470    Qualcomm              ¶ 117          GRANTED.
                                       ECF No. 1470    Qualcomm              ¶ 127          DENIED.
                                   3   ECF No. 1470    Huawei, Qualcomm      ¶ 132          GRANTED.
                                   4   ECF No. 1470    Huawei, Qualcomm      ¶ 136          DENIED as to royalty rates for sales
                                                                                            in China, but GRANTED as to royalty
                                   5                                                        rates for sales outside of China.
                                       ECF No. 1470    Qualcomm              ¶ 142          GRANTED.
                                   6   ECF No. 1470    Huawei, Qualcomm      ¶ 143          GRANTED.
                                   7   ECF No. 1470    Nokia, Qualcomm       ¶ 150          GRANTED as to the upfront license
                                                                                            fee amount, but DENIED as to the
                                   8                                                        royalty rate in the 2001 Nokia
                                                                                            Agreement.
                                   9
                                       ECF No. 1470    Nokia, Qualcomm       ¶ 154          GRANTED as to the upfront license
                                  10                                                        fee amount, but DENIED as to the
                                                                                            royalty rates in the 2008 Nokia
                                  11                                                        Agreement.
                                       ECF No. 1470    Qualcomm              ¶ 156          GRANTED.
                                  12
Northern District of California




                                       ECF No. 1470    Qualcomm              ¶ 157          GRANTED.
 United States District Court




                                  13   ECF No. 1470    Sony, Qualcomm        ¶ 160          GRANTED as to the upfront fee
                                                                                            amount, but DENIED as to the royalty
                                  14                                                        rate in the 1996 Sony SULA.
                                       ECF No. 1470    Sony, Ericsson,       ¶ 165          DENIED.
                                  15                   Qualcomm
                                  16   ECF No. 1470    Sony                  ¶ 166          DENIED.
                                       ECF No. 1470    Sony                  ¶ 167          DENIED.
                                  17   ECF No. 1470    Qualcomm              ¶ 176          GRANTED.
                                       ECF No. 1470    Sony, Qualcomm        ¶ 182          GRANTED as to the royalty rate on
                                  18                                                        line 26 on page 24, but DENIED as to
                                                                                            the remainder, which was revealed in
                                  19
                                                                                            Gonell’s public testimony. Trans.
                                  20                                                        1407:12-14.
                                       ECF No. 1470    Sony, Qualcomm        ¶ 183          DENIED as to royalty rates for sales
                                  21                                                        in China, but GRANTED as to royalty
                                                                                            rates for sales outside of China.
                                  22   ECF No. 1470    Panasonic, Qualcomm   ¶¶ 187, 190    DENIED.
                                  23   ECF No. 1470    Qualcomm              ¶ 194          DENIED.
                                       ECF No. 1470    Panasonic, Qualcomm   ¶ 195          GRANTED as to the specific dollar
                                  24                                                        amounts for settlement costs and
                                                                                            royalty cap, but otherwise DENIED.
                                  25   ECF No. 1470    Panasonic, Qualcomm   ¶ 196          DENIED.
                                       ECF No. 1470    Qualcomm              ¶ 198          DENIED.
                                  26
                                       ECF No. 1470    Panasonic, Qualcomm   ¶ 199          GRANTED as to lines 2-3 of page 27,
                                  27
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                                  28   Case No. 17-CV-00220-LHK
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                                          Motion to    Requesting Party or    Portions of                   Ruling
                                   1       Seal             Parties           Paragraph
                                   2                                                        but DENIED as to line 1 of page 27.
                                       ECF No. 1470    Panasonic, Qualcomm   ¶ 200          GRANTED as to the specific royalty
                                   3                                                        rate and the specific amount of
                                   4                                                        royalties paid in protest, but otherwise
                                                                                            DENIED.
                                   5   ECF No. 1470    Panasonic, Qualcomm   ¶ 201          GRANTED.
                                       ECF No. 1470    ZTE, Qualcomm         ¶¶ 203, 204,   DENIED.
                                   6                                         206
                                       ECF No. 1470    ZTE, Qualcomm         ¶¶ 209-210     DENIED.
                                   7
                                       ECF No. 1470    ZTE, Qualcomm         ¶ 211          DENIED as to royalty rates for sales
                                   8                                                        in China, but GRANTED as to royalty
                                                                                            rates for sales outside of China.
                                   9   ECF No. 1470    Samsung, Qualcomm     ¶ 214          GRANTED as to the upfront fee
                                                                                            amount, but DENIED as to the royalty
                                  10                                                        rates in the 1993 Samsung Agreement.
                                  11   ECF No. 1470    Samsung, Qualcomm     ¶ 216          GRANTED as to the cap on total
                                                                                            royalties due, but DENIED as to the
                                  12                                                        royalty rate in the 2004 Samsung
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                                                                                            Agreement.
                                  13   ECF No. 1470    Samsung, Qualcomm     ¶ 221          GRANTED.
                                       ECF No. 1470    Qualcomm              ¶ 222          DENIED.
                                  14
                                       ECF No. 1470    Samsung, Qualcomm     ¶ 227          GRANTED.
                                  15   ECF No. 1470    Qualcomm              ¶ 228          GRANTED.
                                       ECF No. 1470    Samsung, Qualcomm     ¶ 231          GRANTED as to the upfront fee
                                  16                                                        amount, but DENIED as to the royalty
                                                                                            rates in the 1993 LG Agreement.
                                  17
                                       ECF No. 1470    Qualcomm              ¶ 235          DENIED.
                                  18   ECF No. 1470    Intel,                ¶ 258          GRANTED only as to specific dollar
                                                       Motorola/Lenovo                      amounts, but otherwise DENIED.
                                  19   ECF No. 1470    Qualcomm, Panasonic   ¶ 265          DENIED.
                                       ECF No. 1470    Qualcomm              ¶ 266          DENIED.
                                  20   ECF No. 1470    Huawei                ¶ 398          GRANTED.
                                  21   ECF No. 1470    Via                   ¶¶ 400, 405    GRANTED.
                                       ECF No. 1470    Via, MediaTek         ¶ 406          GRANTED.
                                  22   ECF No. 1470    MediaTek, Marvell     ¶ 407          DENIED.
                                       ECF No. 1470    Apple                 ¶ 409          GRANTED.
                                  23   ECF No. 1470    Via                   ¶ 410          GRANTED.
                                  24   ECF No. 1470    Apple                 ¶ 411          GRANTED.
                                       ECF No. 1470    Via                   ¶ 412          GRANTED.
                                  25   ECF No. 1470    MediaTek              ¶ 413          DENIED.
                                       ECF No. 1470    Qualcomm              ¶ 426          DENIED.
                                  26   ECF No. 1470    Qualcomm              ¶¶ 427, 438(d) GRANTED.
                                  27   ECF No. 1470    Qualcomm              ¶¶ 442, 446,   DENIED.
                                                                                 4
                                  28   Case No. 17-CV-00220-LHK
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                                          Motion to       Requesting Party or        Portions of                      Ruling
                                   1       Seal                Parties                Paragraph
                                   2                                                448
                                        ECF No. 1470     Apple                      ¶¶ 466-467       GRANTED.
                                   3    ECF No. 1470     MediaTek                   ¶¶ 502-503       DENIED.
                                   4    ECF No. 1470     Qualcomm                   ¶ 524            DENIED.
                                        ECF No. 1470     Motorola/Lenovo            ¶¶ 525, 527      GRANTED.
                                   5    ECF No. 1470     Marvell                    ¶ 543            DENIED.
                                        ECF No. 1470     ZTE, Qualcomm              ¶ 552            DENIED.
                                   6    ECF No. 1470     Qualcomm                   ¶¶ 553-554       DENIED.
                                   7    ECF No. 1470     ZTE, Qualcomm              ¶ 571            GRANTED.
                                        ECF No. 1470     Qualcomm                   ¶ 573            GRANTED.
                                   8
                                              The parties shall refile their pretrial proposed findings of fact and conclusions of law in
                                   9
                                       public redacted form consistent with the above rulings by Friday, February 22, 2019.
                                  10
                                       IT IS SO ORDERED.
                                  11
                                       Dated: February 15, 2019
                                  12
Northern District of California




                                                                                        ______________________________________
 United States District Court




                                  13                                                    LUCY H. KOH
                                                                                        United States District Judge
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                                  28   Case No. 17-CV-00220-LHK
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